 Case 1:19-cv-04004-VM Document 39 Filed 01/11/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                   X                   January   11, 2021
EMR IMAGING, LLC,                  :
                                   :
                    Plaintiff,     :    19 Civ. 4004 (VM)
                                   :
     - against -                   :         ORDER
                                   :
PHIL PARADISE,                     :
                                   :
                    Defendant.     :
                                   X
VICTOR MARRERO, United States District Judge.

     The conference currently scheduled for Friday, January

15, 2021 at 3:00 p.m. is hereby canceled. The parties are

hereby directed to inform the Court as to the outcome of the

pending arbitration within three days of a decision.

SO ORDERED.

Dated:    New York, New York
          11 January 2021
Case 1:19-cv-04004-VM Document 39 Filed 01/11/21 Page 2 of 2

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